        Case 1:20-cv-03742-RC          Document 23       Filed 01/15/21      Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


FEDERAL CAPITAL HABEAS
PROJECT, et al.                                      Case No. 20-cv-03742-RC

                   Plaintiffs,

       v.
                                                     STATUS UPDATE
JEFFREY A. ROSEN, in his official
capacity as Acting Attorney General of the
United States,1 et al.

                   Defendants.



       Plaintiffs provide an update regarding United States v. Higgs, Case Nos. 20-18 (4th Cir.)

and 20-927 (U.S.); United States v. Higgs, Case. No. 21-1073 (7th Cir.); and In re: FBOP

Execution Protocol Cases, Case No. 21-5004 (D.C. Cir.). Plaintiffs also provide an update

regarding the Government’s representations about the execution of Mrs. Lisa Montgomery.

       United States v. Higgs (Case Nos. 20-18 (4th Cir.) and 20-927 (U.S.))

       On January 14, 2021, the Government filed in the Supreme Court a reply to Mr. Higgs’s

brief in opposition and filed an application to vacate the stay entered by the Fourth Circuit. This

morning, Mr. Higgs filed a brief opposing the Government’s application to vacate the stay. As of

1:00 p.m., the Court has not acted on the Government’s petition or application.

       United States v. Higgs (Case No. 21-1073 (7th Cir.))

       On January 14, 2021, Mr. Higgs filed in the Seventh Circuit an emergency motion to stay

his execution pending an appeal of the District Court’s denial of his petition for habeas corpus


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 Pursuant to Federal Rule of Civil Procedure 25(d), Jeffrey A. Rosen is substituted for his
predecessor, William P. Barr.
                                                1
        Case 1:20-cv-03742-RC         Document 23        Filed 01/15/21     Page 2 of 5




pursuant to 28 U.S.C. § 2241. Dkt. 3. This morning, the Government filed a response, Dkt. 5, and

Mr. Higgs filed a reply, Dkt. 6.

       In re: FBOP Execution Protocol Cases (Case Nos. 21-5004 (D.C. Cir.) and 20A131
       (U.S.))

       On January 14, 2021, the D.C. Circuit rejected Mr. Higgs’s and Mr. Johnson’s petition for

rehearing en banc. Dkt. 1880129.

       Shortly thereafter, Mr. Higgs and Mr. Johnson filed in the Supreme Court an application

for a stay of their executions. Late in the evening, the Supreme Court denied the application and

the Government executed Mr. Johnson.

       Execution of Mrs. Lisa Montgomery

       On January 14, 2021, the Government submitted to this court the declaration of Mr. Rick

Winter, an attorney with the Federal Bureau of Prisons (“BOP”). In that declaration, Mr. Winter

stated that “BOP has no record of Mrs. Montgomery asking for Mr. Francisco [sic] to be present

in the execution room.” Declaration of Rick Winter ¶ 5 (“Winter Decl.”). Mr. Winter also stated

that “Mr. Francisco acknowledged to FCC Terre Haute’s Chaplain that he was aware that Mrs.

Montgomery did not want him to be in the execution room.” Winter Decl. ¶ 8.

       Plaintiffs have since learned that this depiction of Mrs. Montgomery’s execution is

inaccurate. First, Mrs. Montgomery and her attorneys believed that they had requested for Mr.

Fransisco to be present in the execution chamber. As detailed in the accompanying declaration of

Amy Harwell, BOP did not provide Mrs. Montgomery or her attorneys with a way to request that

Mr. Fransisco be in the execution chamber, other than to list Mr. Fransisco as a witness to the

execution. Declaration of Amy Harwell ¶ 4 (“Harwell Decl.”) (attached as Ex. A). Given the

longstanding norm that a spiritual advisor may be present in the execution chamber to provide last

rites or pray with the condemned, and given that BOP subsequently designated Mr. Fransisco as

                                                2
        Case 1:20-cv-03742-RC         Document 23         Filed 01/15/21    Page 3 of 5




the “Minister of Record” for Mrs. Montgomery, Mrs. Montgomery’s counsel understood that no

further steps were needed to ensure that Mr. Fransisco could be present in the execution chamber

itself. Harwell Decl. ¶ 4–5.

       Second, Mr. Fransisco believed that Mrs. Montgomery wanted him to be in the execution

room. Mr. Fransisco traveled from Branson, Missouri to Terre Haute with the specific intention

of caring for Mrs. Montgomery and singing “Jesus Loves Me” and “Amazing Grace” to her as the

chemicals flowed into her body. Harwell Decl. ¶ 8. And after Mrs. Montgomery was executed,

Mr. Fransisco confirmed that he never acknowledged to BOP that he would be in the witness room

instead of the execution chamber. Declaration of John Fransisco ¶ 2 (attached as Ex. B). BOP’s

denial of Mrs. Montgomery’s spiritual advisor to be in the execution chamber while she was being

put to death illustrates concerns about last-minute changes to procedures when an individual is

executed.



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                                               3
Case 1:20-cv-03742-RC   Document 23      Filed 01/15/21     Page 4 of 5




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                              4
Case 1:20-cv-03742-RC   Document 23      Filed 01/15/21     Page 5 of 5




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                              5
